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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


  IN RE GEISINGER SYSTEM
  SERVICES AND EVANGELICAL                    No.: 4:21–cv–196 (MWB)
  COMMUNITY HOSPITAL
  HEALTHCARE WORKERS                          Chief Judge Brann
  ANTITRUST LITIGATION



   DEFENDANTS’ JOINT MOTION TO EXCLUDE THE TESTIMONY
       OF PLAINTIFFS’ EXPERT, EDWARD LEAMER, PH.D

      Defendants Geisinger System Services and Evangelical Community Hospital,

by and through their respective undersigned counsel, hereby move the Court

pursuant to Federal Rule of Evidence 702 and Daubert v. Merrell Dow Pharms.,

Inc., 509 U.S. 579 (1993), for an Order excluding the proposed expert testimony and

reports of Plaintiffs’ expert, Edward Leamer, Ph.D., from the class certification

proceedings, any pretrial motions, and trial of the above-captioned matter.

      The grounds supporting this Motion are set forth in the accompanying

memorandum of law in accordance with Local Rule 7.5. Pursuant to Local Rule 7.9,

Defendants respectfully request oral argument on this Joint Motion.




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Dated: June 14, 2024                      Respectfully submitted,

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                 CERTIFICATE OF NONCONCURRENCE

      I, Stefan M. Meisner, hereby certify that concurrence was sought from counsel

for Plaintiffs in Defendants’ Joint Motion to Exclude the Testimony of Plaintiffs’

Expert, Edward Leamer, Ph.D. Plaintiffs’ counsel does not concur in this Motion.



                                                  /s/ Stefan M. Meisner
                                                  Stefan M. Meisner


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                         CERTIFICATE OF SERVICE

      I, Stefan M. Meisner, hereby certify that a true and correct copy of the

foregoing Defendants’ Joint Motion to Exclude the Testimony of Plaintiffs’ Expert,

Edward Leamer, Ph.D., the Proposed Order, Memorandum of Law, and Exhibits

were served upon all counsel of record via electronic mail and electronic filing this

14th day of June 2024.



                                                    /s/ Stefan M. Meisner
                                                    Stefan M. Meisner
